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 8
 9                                      UNITED STATES DISTRICT COURT
10                             FOR THE EASTERN DISTRICT OF CALIFORNIA

11
12   UNITED STATES OF AMERICA,                            No. 2:10-cr-00347-MCE-2
13                         Plaintiff,                  STIPULATION AND ORDER CONTINUING
                                                       STATUS CONFERECE
14             v.
                                                       Oct. 2, 2014 before Judge England
15   IMESH PERERA, et al
16
                           Defendants.
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18
           The parties have not yet had sufficient time to evaluate and propose settlement of this case; it
19
     is therefore stipulated that the Status Conference of September 4, 2014 be continued to October
20
     2, 2014. It is also stipulated that time be excluded under the Speedy Trial Act,
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     18 USC Sec 3161-3174 for Counsel preparation (Local Code T4) and that this need outweighs the
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     rights of the Defendants and the Public in a speedy trial. The parties respectfully request the
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     Court so order.
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     Case 2:10-cr-00347-DAD-JDP Document 397 Filed 09/03/14 Page 2 of 2


 1   Dated September 2, 2014
 2     /s/ JILL THOMAS                                    /s/ J TONEY
 3     Jill Thomas                                J. Toney
 4   Assistant U.S. Attorney                       Attorney for Imish Perera
 5
 6                                                ORDER
 7
 8          The status conference in this matter is CONTINUED to October 2, 2014 pursuant to the
 9   parties’ above stipulation (ECF No. 396). The Court finds that a continuance is necessary for the
10   reasons stated above and that the ends of justice served by granting a continuance outweigh the
11   best interests of the public and the Defendant in a speedy trial. The Court finds excludable time
12   through October 2, 2014, based on Local Code T4, giving counsel reasonable time to prepare.
13          IT IS SO ORDERED.
14   Dated: September 3, 2014
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